





















Opinion issued November
17, 2011

&nbsp;

&nbsp;

&nbsp;


 
 
  
  
  
  
  
  
  
  
  
  
  
  
 
 
 

 
 


&nbsp;

&nbsp;

&nbsp;

&nbsp;

&nbsp;

&nbsp;

In The

Court of Appeals

For The

First District of
Texas

&nbsp;


 
 

 
&nbsp;



NO. 01-10-00757-CR

____________

&nbsp;








JABARIE JERRELL ALFRED, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;


 
 

 
 
&nbsp;

On Appeal from the 338th District Court

Harris County, Texas

Trial Court Cause No. 1258385

&nbsp;


 
 

 
 
&nbsp;



MEMORANDUM OPINION








Appellant, Jabarie Jerrell Alfred,
pleaded guilty to the offense of murder, without an agreed recommendation from
the State regarding punishment. &nbsp;See Tex. Penal Code Ann. §&nbsp;19.02 (Vernon
2011).&nbsp; After a presentence
investigation, the trial court found appellant guilty and assessed punishment
at 25 years’ confinement.&nbsp; The trial
court certified that this is not a plea bargain case and that appellant has the
right to appeal.&nbsp; Appellant timely filed
a notice of appeal.&nbsp;&nbsp; 

Appellant’s counsel on appeal has
filed a motion to withdraw, along with an Anders
brief stating that the record presents no reversible error and therefore the
appeal is without merit and is frivolous. &nbsp;See
Anders v. California, 386 U.S. 738, 87 S. Ct. 1396 (1967).&nbsp; We grant counsel’s motion to withdraw and affirm
the trial court’s judgment.

An attorney has an ethical obligation
to refuse to prosecute a frivolous appeal. &nbsp;In re Schulman,
252 S.W.3d 403, 407 (Tex. Crim. App. 2008).&nbsp;
If an appointed attorney finds a case to be wholly frivolous, his
obligation to his client is to seek leave to withdraw.&nbsp; Id.&nbsp; Counsel’s obligation to the appellate court
is to assure it, through an Anders
brief, that, after a complete review of the record, the request to withdraw is
well-founded. Id.

We may not grant the motion to
withdraw until:

(1) &nbsp;&nbsp;&nbsp; the
attorney has sent a copy of his Anders
brief to his client along with a letter explaining that the defendant has the
right to file a pro se brief within 30 days, and he has ensured that his client
has, at some point, been informed of his right to file a pro se PDR; 

(2) &nbsp;&nbsp;&nbsp; the
attorney has informed us that he has performed the above duties; 

(3) &nbsp;&nbsp;&nbsp; the
defendant has had time in which to file a pro se response; and

(4) &nbsp;&nbsp;&nbsp; we
have reviewed the record, the Anders brief,
and any pro se brief.

&nbsp;

See id. at
408–09.&nbsp;
If we agree that the appeal is wholly frivolous, we will grant the
attorney’s motion to withdraw and affirm the trial court’s judgment. See Garner v. State, 300 S.W.3d 763, 766
(Tex. Crim. App. 2009).&nbsp; If we conclude that arguable grounds for
appeal exist, we will grant the motion to withdraw, abate the case, and remand
it to the trial court to appoint new counsel to file a brief on the merits.&nbsp; See Bledsoe
v. State, 178 S.W.3d 824, 826–27 (Tex. Crim. App. 2005).&nbsp; 

Here, counsel’s brief reflects that
he delivered a copy of the brief to appellant and informed him of his right to examine
the appellate record and to file a response.&nbsp;
See Schulman, 252 S.W.3d at
408. &nbsp;More than 30 days have passed, and
appellant has not filed a pro se brief. &nbsp;See id. at 409 n.23 (adopting 30-day period
for response).&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Counsel’s
brief meets the Anders requirements
in that it presents a professional evaluation of the record. See Anders, 386 U.S. at 744, 87 S. Ct.
at 1400; see also High v. State, 573
S.W.2d 807, 812 (Tex. Crim. App. 1978). &nbsp;Counsel
supplies us with references to the record and provides us with citation to
legal authorities. &nbsp;Counsel indicates
that he has thoroughly reviewed the record and that he is unable to advance any
grounds of error that warrant reversal. &nbsp;See Anders, 386 U.S. at 744, 87 S. Ct.
at 1400; Mitchell v. State, 193
S.W.3d 153, 154 (Tex. App.—Houston [1st Dist.] 2006, no pet.).&nbsp; 

We have independently reviewed the entire
record, and we conclude that no reversible error exists in the record, that there
are no arguable grounds for review, and that therefore the appeal is frivolous.
See Anders, 386 U.S. at 744, 87 S. Ct.
at 1400; Garner v. State, 300 S.W.3d
763, 767 (Tex. Crim. App. 2009) (explaining that frivolity is determined by
considering whether there are “arguable grounds” for review); Bledsoe, 178 S.W.3d at 826–27 (emphasizing
that reviewing court—and not counsel—determines, after full examination of
proceedings, whether the appeal is wholly frivolous); Mitchell, 193 S.W.3d at 155. &nbsp;Although we may issue an opinion explaining
why the appeal lacks arguable merit, we are not required to do so. See Garner, 300 S.W.3d at 767.&nbsp; An appellant may challenge a holding that
there are no arguable grounds for appeal by filing a petition for discretionary
review in the Court of Criminal Appeals. See
Bledsoe, 178 S.W.3d 827 &amp; n.6.

We grant counsel’s motion to withdraw[1]
and affirm the appeal. Attorney Randall J. Ayers must immediately send the
notice required by Texas Rule of Appellate Procedure 6.5(c) and file a copy of
that notice with the Clerk of this Court.&nbsp;
See Tex. R. App. P. 6.5(c).

PER CURIAM

&nbsp;

Panel consists of Justices Keyes, Higley, and
Massengale.

&nbsp;

Do not publish.&nbsp;
Tex. R. App. P. 47.2(b).

&nbsp;











[1]
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appointed
counsel still has a duty to inform appellant of the result of this appeal and
that he may, on his own, pursue discretionary review in the Texas Court of
Criminal Appeals. See Bledsoe v. State,
178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005).







